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                     UNITED STATES DISTRICT COURT

                      DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                    )
                                            )
     v.                                     ) CRIMINAL NO. 23-CR-10159
                                            )
JACK DOUGLAS TEIXEIRA                       )

                 DEFENDANT JACK DOUGLAS TEIXEIRA’S
                        DETENTION APPEAL




                               Exhibit 12

                        Other Espionage Act Cases
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    Defendant           Year     Jurisdiction       Charges           Synopsis                              Conditions of         Offenses of        Sentence
                       Charged                                                               Detained         Release             Conviction
                                                                                             Pending
                                                                                             Trial?

Lawrence A. Franklin   2005      EDVA           –Conspiracy to        Classified military    No         $100,000 unsecured       –Conspiracy to    –Total term of
                                                communicate           information                       bond                     communicate       151 months in
                                 05-cr-00225
                                                national defense      regarding       U.S.                                       national          prison,
                                 05-cr-00421
                                                information, 18       policy toward Iran                –Conditions of release   defense           followed by 3
                                                U.S.C. § 793(g)       disclosed to pro-                 unknown, unavailable     information, 18   years
                                                                      Israel lobbyists and              on Pacer                 U.S.C. § 793(g)   supervised
                                                –Communication        an Israeli diplomat                                                          release
                                                of national defense                                                              –Conspiracy to
                                                information,     18                                                              communicate       –$10,000 fine
                                                U.S.C. § 793(d) (3                                                               classified
                                                counts)                                                                          information, 18   –Continued
                                                                                                                                 U.S.C. § 371      on      current
                                                –Conspiracy to                                                                                     bond
                                                communicate                                                                      –Unlawful         conditions to
                                                classified                                                                       retention    of   self-
                                                information, 18                                                                  national          surrender,
                                                U.S.C. § 371                                                                     defense           with delayed
                                                                                                                                 information, 18   reporting date
                                                –Unlawful                                                                        U.S.C. § 793(e)
                                                retention     of
                                                national defense
                                                information, 18
                                                U.S.C. § 793(e)




                                                                                                                                      DEFENDANT
                                                                                                                                       EXHIBIT


                                                                                                                                         12
                                                                             1
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    Defendant          Year     Jurisdiction       Charges          Synopsis                           Conditions of           Offenses of        Sentence
                      Charged                                                           Detained         Release               Conviction
                                                                                        Pending
                                                                                        Trial?

Shamai K. Leibowitz   2009      MD             –Disclosure     of   Leaked classified   No                                    –Disclosure of    –20 months in
                                09-cr-00632    classified           FBI documents to               –Report on a regular       classified        prison,
                                               information, 18      a blogger                      basis     to    Pretrial   information, 18   followed by 3
                                               U.S.C. § 798(a)(3)                                  Services Supervision       U.S.C. § 798(a)   years
                                                                                                                                                supervised
                                                                                                   –Surrender         any                       release
                                                                                                   passports and obtain no
                                                                                                   new passports

                                                                                                   –Travel restricted to
                                                                                                   Washington,       DC
                                                                                                   metropolitan area and
                                                                                                   get prior approval for
                                                                                                   further travel from
                                                                                                   Pretrial

                                                                                                   –Do not move without
                                                                                                   Pretrial permission




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     Defendant      Year     Jurisdiction       Charges          Synopsis                              Conditions of         Offenses of         Sentence
                   Charged                                                              Detained         Release             Conviction
                                                                                        Pending
                                                                                        Trial?

Jeffrey Sterling   2010      EDVA           –Unauthorized        Classified             No         –Released on personal    All       counts   –42 months in
                                            disclosure      of   information                       recognizance,            except one         prison as to
                             10-cr-00485
                                            national defense     regarding efforts to              unsecured bond of                           each count, all
                                            information, 18      sabotage Iranian                  $10,000 consigned by                        to         run
                                            U.S.C. § 793(d) (3   nuclear research                  third party custodian                       concurrent
                                            counts)              divulged to NYT
                                                                 reporter James                    –Placed in custody of                       –2 years
                                            –Unauthorized        Risen                             third party custodian                       supervised
                                            disclosure      of                                                                                 release
                                            national defense                                       –Actively seek
                                            information, 18                                        employment
                                            U.S.C. § 793(e) (3
                                            counts)                                                –Do not depart
                                                                                                   Washington,        DC
                                            –Unlawful                                              metropolitan      area
                                            retention     of                                       without preapproval by
                                            national defense                                       Pretrial or Court
                                            information, 18
                                            U.S.C. § 793(e)

                                            –Mail fraud, 18
                                            U.S.C. § 1341




                                                                        3
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           -Unauthorized                            –Avoid all contact and
           conveyance of                            communication with
           government                               alleged victims or
           property, 18                             potential    witnesses
           U.S.C. § 641                             unless in presence of
                                                    defense counsel
           –Obstruction of
           justice, 18 U.S.C.                       –Report to Pretrial
           § 1512(c)(1)
                                                    –Refrain            from
                                                    possessing a firearm

                                                    –Refrain from excessive
                                                    use of alcohol

                                                    –Undergo psychiatric
                                                    treatment and take all
                                                    prescribed medications
                                                    and waive privacy rights
                                                    to mental health records

                                                    –Surrender passport and
                                                    obtain no new passport

                                                    –Notify any employer of
                                                    being under indictment
                                                    and the charges involved




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    Defendant     Year     Jurisdiction       Charges          Synopsis                             Conditions of             Offenses of         Sentence
                 Charged                                                             Detained         Release                 Conviction
                                                                                     Pending
                                                                                     Trial?

Stephen J. Kim   2010      DC             –Unauthorized        Shared classified     No                                      –Unauthorized      –13 months in
                                          disclosure    of     information from an              –Bond in the amount of       disclosure    of   prison,
                           10-cr-00225
                                          national defense     intelligence report              $100,000 secured by          national defense   followed by
                                          information, 18      on North Korea                   real property                information, 18    12 months of
                                          U.S.C. § 793(d)      with Fox News                                                 U.S.C. § 793(d)    supervised
                                                               reporter                         –Report weekly         by                       release
                                          –False statements,                                    phone to Pretrial
                                          18 U.S.C. §
                                          1001(a)(2)                                            –Shall not travel more
                                                                                                than 25 miles outside the
                                                                                                Washington,            DC
                                                                                                metropolitan          area
                                                                                                without pre-approval of
                                                                                                Pretrial, except can
                                                                                                travel to California for
                                                                                                work or to visit his son
                                                                                                with advance written
                                                                                                notice to pretrial and
                                                                                                government

                                                                                                –Any     rearrest   on
                                                                                                probable cause for any
                                                                                                subsequent offense may
                                                                                                result in revoking
                                                                                                present bond and being
                                                                                                held without bail




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    Defendant         Year     Jurisdiction       Charges         Synopsis                             Conditions of            Offenses of      Sentence
                     Charged                                                          Detained           Release                Conviction
                                                                                      Pending
                                                                                      Trial?

James Hitselberger   2012      DC             –Unlawful           Classified          No                                       –Unauthorized   –Time served
                                              retention     of    materials           (released    –Release to high            removal and
                               12-cr-00231                                                                                                     –No additional
                                              national defense    concerning          after four   intensity supervision       retention of
                                              information, 18     Bahrain to    the   and a half   program with GPS            classified      supervision or
                                              U.S.C. § 793(e)     Hoover              months                                   documents, 18   supervised
                                                                                                   location monitoring
                                                                  Institution         in                                       U.S.C. § 1924   release shall
                                              –Unauthorized                           custody)     –To reside with aunt,                       be imposed –
                                              removal of a                                         may leave only for                          $250 fine
                                              public record, 18                                    appointments         with
                                              U.S.C. § 2071(a)                                     doctors, lawyers, or
                                                                                                   Pretrial Services, or to
                                                                                                   attend religious services

                                                                                                   –Prohibited         from
                                                                                                   entering or being in
                                                                                                   immediate vicinity of
                                                                                                   Union Station, any other
                                                                                                   bus or train station that
                                                                                                   provides service outside
                                                                                                   of the Washington
                                                                                                   metropolitan area, or
                                                                                                   any airport

                                                                                                   –May not travel further
                                                                                                   than 25 miles from
                                                                                                   Washington, DC for any
                                                                                                   reason

                                                                                                   –Meet with Pretrial once
                                                                                                   a week and call officer
                                                                                                   at designated time every
                                                                                                   day

                                                                                                   –Surrender passport and
                                                                                                   obtain no new passport



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    Defendant    Year     Jurisdiction       Charges          Synopsis                             Conditions of           Offenses of         Sentence
                Charged                                                             Detained         Release               Conviction
                                                                                    Pending
                                                                                    Trial?
John Kiriakou   2012      EDVA                                Disclosing identity   No         –Released on personal
                                         –Disclosure of       of CIA officials                 recognizance,              –Disclosure of     –30 months in
                          12-cr-00127
                                         classified           involved         in              $250,000     unsecured     classified         prison,
                                         information          interrogation abuse              bond                       information        followed by 3
                                         identifying a        to journalists                                              identifying a      years
                                         covert agent, 50                                      –Bond to be signed by      covert agent, 50   supervised
                                         U.S.C. § 421(a)                                       wife and brother within    U.S.C. § 421(a)    release
                                                                                               5 days
                                         –Transmission of
                                         national defense                                      –Do not depart
                                         information, 18                                       Washington,          DC
                                         U.S.C. § 793(d) (3                                    metropolitan        area
                                         counts)                                               without prior approval
                                                                                               of Pretrial or the Court
                                         –False statements,                                    –Prior       approval
                                         18 U.S.C. §                                           needed from Pretrial to
                                         1001(a)(1)                                            travel outside Metro
                                                                                               area

                                                                                               –Do not move from
                                                                                               residence without prior
                                                                                               approval of Pretrial or
                                                                                               the court

                                                                                               –Avoid all contact with
                                                                                               any witnesses

                                                                                               –Report on a regular
                                                                                               basis to Pretrial

                                                                                               –Surrender any passport
                                                                                               and obtain no new
                                                                                               passport




                                                                    7
    Defendant        Year     Jurisdiction       Charges           Synopsis                         Conditions of            Offenses of         Sentence
                    Charged                                              Detained Page 9
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                                                                                       Release                               Conviction
                                                                                      Pending
                                                                                      Trial?
Donald Sachtleben   2012      SDIN                                 Classified         No        –Supervision by Pretrial    –Unauthorized      –43 months in
                                             –Unauthorized         information
                              12-cr-00127    disclosure    of                                                               disclosure    of   prison as to
                                                                   regarding foiled             –Continue or actively       national defense   Counts One
                              13-cr-00200    national defense      bomb plot in                 seek employment             information, 18    and Two, to
                                             information, 18       Yemen to the AP
                                             U.S.C. § 793(d)                                                                U.S.C. § 793(d)    run
                                                                                                –Surrender any passport                        consecutive
                                                                                                and obtain no new           –Unauthorized      with      97-
                                             –Unauthorized
                                                                                                passport                    possession and     month
                                             possession and
                                                                                                                            retention    of    sentence
                                             retention     of                                   –Travel restricted to       national           imposed     in
                                             national defense                                   SDIN unless pre-            defense            child
                                             information, 18                                    approved          by        information, 18    pornography
                                             U.S.C. § 793(e)                                    Pretrial                    U.S.C. § 793(e)    case
                                             –Distributing child                                –Avoid all contact with     –Distributing      –Total of 7
                                             pornography, 18                                    any co-defendants or        child              years
                                             U.S.C. §                                           potential           co-     pornography, 18    supervised
                                             2256(2)(A)                                         defendants                  U.S.C. §           release
                                                                                                                            2256(2)(A)
                                             –Possession     of                                 –Do not possess a
                                             child pornography,                                 firearm                     –Possession of
                                             18 U.S.C. §                                                                    child
                                             2252(a)(4)(B)                                      –Do not use alcohol and     pornography, 18
                                                                                                submit to testing           U.S.C. §
                                                                                                                            2252(a)(4)(B)
                                                                                                –Home detention with
                                                                                                location monitoring–
                                                                                                may leave only for
                                                                                                employment, education,
                                                                                                religious services,
                                                                                                medical, substance
                                                                                                abuse, or mental health
                                                                                                treatment, attorney
                                                                                                visits,             court
                                                                                                appearances, or other
                                                                                                pre-approved by Pretrial




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                                                     –Random searches of
                                                     person, residence, and
                                                     property by Pretrial
                                                     and/or     any     law
                                                     enforcement officers
                                                     accompanying them

                                                     –Special       conditions
                                                     related     to      child
                                                     pornography charges–
                                                     including not possessing
                                                     any computer




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    Defendant       Year     Jurisdiction       Charges              Synopsis             Detained          Conditions of           Offenses of         Sentence
                   Charged                                                                Pending             Release               Conviction
                                                                                            Trial?

Kendra Kingsbury   2021      WD MO, 21-      - Unlawful             FBI agent of 12 years not sought   -surrender       passport    - Unlawful        -46 months in
                             CR-00101       retention of national   .removed and retained              and passport card; -        retention of       prison, placed
                                            defense information     386 classified                     obtain no        new        national defense   on location
                                            18 U.S.C. § 793(e)      documents, including               passport; - $10,000         information 18     monitoring and
                                                                    those which would                  unsecured bond              U.S.C. § 793(e)    GPS tracking
                                                                    reveal some of the                                                                until
                                                                    government’s most                                                                 selfsurrender; -
                                                                    important and                                                                     3 years of
                                                                    secretive methods of                                                              supervised
                                                                    collecting essential                                                              release
                                                                    national security
                                                                    intelligence




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 Defendant        Year     Jurisdiction       Charges         Synopsis                Detained        Conditions of            Offenses of        Sentence
                 Charged                                                                                Release                Conviction
                                                                                      Pending
                                                                                      Trial?

Robert Birchum    2023      MDF           - Unlawful          - NSA documents           No                                   - Unlawful
                            23-cr-00032   retention of       relating to national                -   Report by phone          retention of        -36 months
                                          national defense   defense that discuss                    every Tuesday no         national defense   in prison;
                                          information 18     NSA capabilities and                    later than 4:00pm to     information 18     - 3 years of
                                          U.S.C. § 793(e)    methods of collection.                  US Pretrials Service.    U.S.C. § 793(e)    supervised
                                                                                                 -   Surrender Passport                          release;
                                                                                                                                                 -$25,000
                                                                                                 -   Not travel outside                          fine
                                                                                                     MDF
                                                                                                 -   Submit Mental
                                                                                                     Health Eval
                                                                                                 -   Not use, posess or
                                                                                                     own firearms,
                                                                                                     weapons or
                                                                                                     destructive devices
                                                                                                     and shall not
                                                                                                     purchase any new
                                                                                                     firearms,
                                                                                                     dangerous
                                                                                                     weapons or
                                                                                                     destructive
                                                                                                     devices.




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